Case 2:19-bk-17593-RK   Doc 6 Filed 06/28/19 Entered 06/28/19 16:07:28   Desc
                         Main Document    Page 1 of 7
Case 2:19-bk-17593-RK   Doc 6 Filed 06/28/19 Entered 06/28/19 16:07:28   Desc
                         Main Document    Page 2 of 7
Case 2:19-bk-17593-RK   Doc 6 Filed 06/28/19 Entered 06/28/19 16:07:28   Desc
                         Main Document    Page 3 of 7
Case 2:19-bk-17593-RK   Doc 6 Filed 06/28/19 Entered 06/28/19 16:07:28   Desc
                         Main Document    Page 4 of 7
Case 2:19-bk-17593-RK   Doc 6 Filed 06/28/19 Entered 06/28/19 16:07:28   Desc
                         Main Document    Page 5 of 7
Case 2:19-bk-17593-RK   Doc 6 Filed 06/28/19 Entered 06/28/19 16:07:28   Desc
                         Main Document    Page 6 of 7
Case 2:19-bk-17593-RK   Doc 6 Filed 06/28/19 Entered 06/28/19 16:07:28   Desc
                         Main Document    Page 7 of 7
